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                        UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW HAMPSHIRE




United States of America

        v.                                     Criminal No.     10-cr-26-03-PB

Lee Brown



                                   O R D E R


        The defendant has moved to continue the October 5, 2010

trial in the above case.         Defendant cites the need for additional

time to complete the remaining portion of the TC program.                     The

government does not object to a continuance of the trial date.

        Accordingly, in order to allow the parties additional time

for the above stated reason and properly prepare for trial, the

court will continue the trial from October 5, 2010 to December 1,

2010.        In agreeing to continue the trial, the court finds

pursuant to 18 U.S.C.A. § 3161(h)(8)(A) that for the above-stated

reasons, the ends of justice served in granting a continuance

outweigh the best interests of the public and the defendant in a

speedy trial.
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      The September 29, 2010 final pretrial conference is

continued until November 18, 2010 at 3:00 PM .

      SO ORDERED.



                                          /s/ Paul Barbadoro
                                          Paul Barbadoro
                                          Chief Judge

September 23, 2010

cc:   Richard Monteith, Esq.
      Michael Iacopino, Esq.
      Douglas Miller, Esq.
      Cathy Green, Esq.
      Jennifer Davis, Esq.
      United States Probation
      United States Marshal




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